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AO 106 (Rev. 04/10) Application for a Search Warrant



                                      UNITED STATES DISTRICT COURT
                                                                     for the
                                                         Southern District of California

              In the Matter of the Search of                            )                                    sou·i Hl=,;r.;   [~''"   i ,·iiCT Of: C.<i.HXl~JIA
         (Briefly describe the property to be searched                  )                                  I SY           ·--·-·----~-- ..-           Jf=f"~J IY
          or identifY the person by name and address)                   )           Case No.
          Apple iPhone Model #A 1688 with IMEI                          )
         355768075242183 (Target Telephone-1)                           )
                                                                        )                                  19MJ0328
                                             APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identifY the person or describe the
property to be searched and give its location):

 See Attachment A-1.

located in the             Southern               District of               California           , there is now concealed (identifY the
                                                                 ·----------
person or describe the property to be seized):

 See Attachment B.

          The basis for the search under Fed. R. Crim. P. 41 (c) is (check one or more):
                 ~evidence of a crime;
                 0 contraband, fruits of crime, or other items illegally possessed;
                 0 property designed for use, intended for use, or used in committing a crime;
                 0 a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
             Code Section                                                           Offense Description
        21 U.S.C. 841, 846, 843                    Distribution of a Controlled Substance, Possession to of a Controlled Substance
                                                   with Intent to Distribute, and Conspiracy to do the same; Illegal Use of a
                                                   Communication Facility;
          The application is based on these facts:
        See attached affidavit of Michael J. Rod.

           ~ Continued on the attached sheet.
           0 Delayed notice of         days (give exact ending date if more than 30 days: _ _ _ _ _ )is requested
             under 18 U .S.C. § 3103a, the basis of which is set forth on the attached sheet.


                                                                                           \/APP/kant s     slgndfure

                                                                                         Michael J. Rod, Special Agent, FBI
                                                                                                Printed name and title

Sworn to before me and signed in my presence.


Date:
                                                                                                  Judge 's signature

City and state: San Diego, California                                               Hon. William V. Gallo, U.S. Magistrate Judge
                                                                                                Printed name and title
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 1                                 ATTACHMENT A-I
 2                     CELLULAR PHONE TO BE SEARCHED
 3
 4        Apple iPhone Model #A1688 with IMEi 355768075242183 (Target Telephone-I).
 5        Target Telephone-I is currently being held as evidence in the Southern District of
 6 California.
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                                       ATTACHMENT B
 1
                                    ITEMS TO BE SEIZED
 2
           Authorization to search the cellular phones described m Attachments A-1
 3
     through A-11 includes the search of disks, memory cards, deleted data, remnant data,
 4
     slack space, and temporary or permanent files contained on or in the cellular telephones.
 5
     The seizure and search of the cellular telephones shall be conducted in accordance with
 6
     the affidavit submitted in support of the warrant.
 7
           The evidence to be seized from the cellular telephones will be electronic records,
 8 communications, and data such as emails, text messages, photographs, audio files,
 9
   videos, and location data, for the period of January 1, 2018 to and including the date
10
   the cellular phone was seized by law enforcement:
11
           a. tending to identify efforts to obtain, possess, or distribute methamphetamine,
12
              heroin, or some other controlled substances;
13
           b. tending to identity accounts, facilities, storage devices, and/or services-such
14
              as email addresses, IP addresses, and phone numbers-used to facilitate the
15            smuggling and distribution of methamphetamine, heroin, or some other
              controlled substance;
16
17         c. tending to identify co-conspirators, criminal associates, or others involved in
              smuggling and distribution of methamphetamine, heroin, or some other
18
              controlled substance;
19
           d. tending to identify travel to or presence at locations involved in the smuggling
20
              and distribution of methamphetamine or some other controlled substance,
21            such as stash houses, load houses, or delivery points;
22
           e. tending to identify the user of, or persons with control over or access to, the
23            subject telephones; and/or
24
           f. tending to place in context, identify the creator or recipient of, or establish the
25            time of creation or receipt of communications, records, or data involved in the
26            activities described above;
     which are evidence of violations of Title 21, United States Code, Sections 841, 846,
27
     and 843.
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                                                 12
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 1                                 ATTACHMENT A-1
 2                     CELLULAR PHONE TO BE SEARCHED
 3
 4        Apple iPhone Model #A1688 with IMEi 355768075242183 (Target Telephone-1).
 5        Target Telephone-1 is currently being held as evidence in the Southern District of
 6 California.
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                                       ATTACHMENT B
 1
                                    ITEMS TO BE SEIZED
 2
           Authorization to search the cellular phones described m Attachments A-1
 3
     through A-11 includes the search of disks, memory cards, deleted data, remnant data,
 4
     slack space, and temporary or permanent files contained on or in the cellular telephones.
 5
     The seizure and search of the cellular telephones shall be conducted in accordance with
 6
     the affidavit submitted in support of the warrant.
 7
           The evidence to be seized from the cellular telephones will be electronic records,
 8 communications, and data such as emails, text messages, photographs, audio files,
 9
     videos, and location data, for the period of January 1, 2018 to and including the date
10
     the cellular phone was seized by law enforcement:
11
           a. tending to identify efforts to obtain, possess, or distribute methamphetamine,
12
              heroin, or some other controlled substances;
13
           b. tending to identity accounts, facilities, storage devices, and/or services-such
14
              as email addresses, IP addresses, and phone numbers-used to facilitate the
15            smuggling and distribution of methamphetamine, heroin, or some other
              controlled substance;
16
17         c. tending to identify co-conspirators, criminal associates, or others involved in
              smuggling and distribution of methamphetamine, heroin, or some other
18
              controlled substance;
19
           d. tending to identify travel to or presence at locations involved in the smuggling
20
              and distribution of methamphetamine or some other controlled substance,
21            such as stash houses, load houses, or delivery points;
22
           e. tending to identify the user of, or persons with control over or access to, the
23            subject telephones; and/or
24
           f. tending to place in context, identify the creator or recipient of, or establish the
25            time of creation or receipt of communications, records, or data involved in the
26            activities described above;
     which are evidence of violations of Title 21, United States Code, Sections 841, 846,
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     and 843.
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                                                 12
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                  AFFIDAVIT IN SUPPORT OF SEARCH WARRANTS
 1
           I, Michael J. Rod, being duly sworn, declare and state:
 2
                                 PURPOSE OF AFFIDAVIT
 3
           1.    This affidavit supports applications for warrants to search the rollowing
 4
     cellular phones:
 5
 6                a.    Apple iPhone Model #A1688 with IMEI 355768075242183 (Target
                        Telephone-1 );
 7
 8                b.    LG Model #LM-X210MA with IMEI 352342093679256 (Target
                        Telephone-2);
 9
10                c.    Alcatel Model #5027B with MEID 35790707676594 (Target
                        Telephone-3); ·
11
12                d.    Samsung Galaxy S9+ with IMEI                 353522095508087   (Target
13                      Telephone-4);

14                e.    LG Model #LG-K330 with IMEI 352569082128925                    (Target
15                      Telephone-5);

16                f.    Samsung Model SM-J727A with IMEI 355617051933717 (Target
17                      Telephone-6);

18                g.    LG Model LGMS210 _with IMEI 357588082801526                    (Target
19                      Telephone-7);

20                h.    Coolpad (phone) with IMEI 864377030271016 (Target Telephone-8);
21
                  I.    Samsung Model SM-J327P with DEC 089869568808668181 (Target
22                      Telephone-9);
23
                 J.     Samsung Model SM-S727VL with IMEI 354727081124281 (Target
24                      Telephone-1 O);
25
                  k.    Samsung Model SM-J737 with IMEI 356058090314111 (Target
26                      Telephone-11 );
27 (collectively, Target Telephones), as described in Attachments A-1 through A-11.
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 1        2.     Based on the information below, there is probable cause to believe evidence
 2 of crimes in violation of Title 21, United States Code, Sections 841, 846, and 843
 3 (Distribution of Controlled Substances, Possession of Controlled Substances for
 4 Distribution, Conspiracy to Distribute Controlled Substances, and Illegal Use of a
 5 Communication Facility), as described in Attachment B will be found in the Target
 6 Telephones.
 7        3.     As outlined below, the Target Telephones were seized during the course of
 8 a Title III investigation and all Target Telephones are being held as evidence in the
 9 Southern District of California.
1O         4.    Except as otherwise noted, information set forth in this affidavit has either
11 been observed or provided to me by task force officers from the North County Regional ·
12 · Gang Task Force (NCRGTF) or other multi-agency federal, state, and local drug/gang task
13 force officers with whom I have spoken, whom were involved in this investigation, or
14 whose reports I have read and reviewed. In this affidavit, I have also included, where
15 appropriate, my interpretation of quoted and/or coded language in parenthesis and/or
16 brackets. Those interpretations are based upon my training and experience, conversations
17 I have had with other law enforcement officers familiar with this investigation, as well as
18 my personal participation in this investigation.
19         5. Because this affidavit is being submitted for the limited purpose of seeking the
20 search warrants specified above, I have not set forth each and every fact learned during the
21 course of the investigation. Rather, I have set forth only those facts that I believe are
22 necessary to establish probable cause for the requested warrant.
23                            TRAINING AND EXPERTISE
24         6.    I am an investigative or law enforcement officer within the meaning of Title
25 18, United States Code, Section 2510(7); that is, an officer of the United States, who is
26 empowered by law to conduct investigations of and to make arrests for offenses
2 7 enumerated in Titles 18 and 21 of the United States Code.

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 1         7.    I am a Special Agent of the Federal Bureau of Investigation (FBI), and have
 2 been so employed since May 2010. I am currently assigned to the San Diego Field Division,
 3 North County Resident Agency. Prior to joining the FBI, I was a United States Marine
 4 Corps Judge Advocate serving on active duty from November 2001 until May 2010. In
 5 my capadty as a Judge ·Advocate, I prosecuted and defended violations of the Uniform
 6 Code of Military Justice, acted as the Investigating Officer during criminal proceedings,
 7 provided legal assistance to service members, and advised military commanders on a wide
 8 variety of civil and administrative matters.
 9         8.    I have received twenty-one (21) weeks of training at the FBI Academy in
10 Quantico, Virginia. During that training, I received instruction regarding a wide variety of
11 investigative techniques that are commonly used in support of a wide range of the FBI' s
12 investigative priorities. The training included instruction regarding the use of sources,
13 electronic surveillance techniques, law enforcement tactics, search and seizure laws and
14 techniques, surveillance, forensic techniques, interviewing, and a variety of other subjects.
15 I have acted as the lead investigator on a variety of cases and have participated in multiple
16 cases that have focused on gang related matters.
17         9.    Since July 2012; I have been assigned to the NCRGTF. The San Diego County
18 Sheriffs Department has appointed me an Associate Agent assigned to the Sheriffs
19 Department Special Investigation Division and specifically assigned to the NCRGTF.
20 During my time at the NCRGTF, I have had personal contact with dozens of self-admitted
21 or known gang members ·and their associates and have discussed their lifestyles, method of
22 operations regarding violent and property crimes, and their drug trafficking and drug
23 distributing activities. I have participated in . investigations involving criminal gang
24 members including ·but not limited to Hispanic criminal street gangs and have performed .
25 various investigative tasks involving the following:
26               a.     Functioning as a surveillance agent and thereby observing and

27         recording movements of gang members trafficking in illegal drugs and weapons; and

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 1         those suspected of committing violent crimes and trafficking in illegal drugs and
 2         weapons;
 3               b.     Tracing monies and assets gained by drug traffickers from the sale of
 4         illegal sale of drugs and weapons (laundering of monetary instruments);
 5               c.     Interviewing dozens of witnesses, cooperating individuals, and
 6         confidential informants relative to gang activities including: violent acts, illegal
 7         trafficking of drugs and the distribution of monies and assets derived from illegal
 8        trafficking of drugs; ..
 9               d.     Monitoring and reviewing thousands of recorded jail calls as well as
1O        recorded telephone calls pursuant to Title III court orders in narcotics and gang-
11        related cases as well as handled Confidential Human Sources with access to drug
12         dealers, firearms dealers, gang members and the Mexican Mafia hierarchy; and
13               e.     Super.vising, as a case agent/co-case agent, specific investigations
14         involving criminal gangs, trafficking of drugs, weapons and the laundering of
15        monetary instruments.
16         10.   In my training and experience, I have learned that individuals engaged in
17 narcotic trafficking often use their cell phones and electronic media to conspire, plan and
18 coordinate their criminal activities and that cellphones and electronic media retain evidence
19 of their crimes such as communications, photographs, videos, contact information of co-
20 conspirators, location data, travel arrangements, and financial data that evidence criminal
21 activities.
22         FACTS AND CIRCUMSTANCES ESTABLISHING PROBABLE CAUSE
23                                         Background
24         11.    Starting in December 201 7, the FBI and San Diego County Sheriffs
25 Department (SDSD) began investigating methamphetamine distribution by multiple

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 1 individuals in the San Diego area. Investigators identified Mark Wamer 1 (WARNER) as
 2 an individual selling methamphetamine in the San Diego area. Between February and June
 3 of 2018, WARNER sold methamphetamine to a Confidential Source (CS-1 2) during
 4 multiple controlled purchases that were audio and video recorded and surveilled by
 5 investigators. WARNER introduced CS-1 to Akila Bihl3 (BIHL), who has also sold
 6 methamphetamine to CS-1, facilitated by WARNER, which investigators seized, weighed,
 7 and field tested.
 8           12.   This investigation has included the use of district judge authorized Title III
 9 intercepts, including cellular telephones used by both WARNER and BIHL. · The
10
11
12   1    On November 16, 2018, the Honorable William V. Gallo issued a federal arrest
    warrant 18MJ5910 for WARNER for violations of 18 U.S.C. section 922(g)(l) and Title 21
13
    U.S.C. sections 841(a)(l). WARNER was arrested on January 20, 2019.
14
    2     CS-1 's criminal history includes the following convictions: 1997 misdemeanor
15
    conviction for PC 242/243 (Battery); 2001 misdemeanor conviction for H&S l 1550(a)
16 (Under the Influence of a controlled substance); 2003 misdemeanor conviction for H&S
    11550(a) (Under the influence of a controlled substance); 2006 felony conviction for H&S
17
    11378 (Possess controlled substance for sale); 2006 felony conviction for H&S 11378
18 (Possess controlled substance for sale); 2006 felony conviction for PC 487(a) (Grand
    Theft); 2010 felony convictions for H&S 113 79 (Transport controlled substance for sale)
19
    and PC 459 (Burglary); 2012 felony conviction for H&S 11377(a) (Possess controlled
20 substance); 2013 misdemeanor conviction for PC 148(a) (Obstruct public officer); 2014
    felony convictions for PC 459 (Burglary) and HSl 1360 (Transport marijuana for sale); and
21
    2015 PC 3056 Parole Violation. In November 2017, CS-1 was arrested for a federal drug
22 trafficking crime and subsequently plead guilty to that crime. CS-1 agreed to assist law
    enforcement in hopes of receiving a recommendation by the Government for a lower
23
    sentence. On November 13, 2018, CS-1 received a time served sentence. CS-1 has
24 consistently provided information that has proven credible and reliable. As of June 19,
  5 2018, CS-1 has been paid approximately $14,200 for expenses and $9,921 for services.
2
26 3     On November 16, 2018, the Honorable William V. Gallo issued a federal arrest
27 warrant 18MJ5909 for BIHL for violations of 18 U.S.C. section 922(g)(l) and 21 U.S.C.
   section 84l(a)(l). BIHL was arrested on November 29, 2018. ·
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 1 investigation to date indicates that BIHL and his girlfriend Raphaela Moore4 (MOORE)
 2 maintained multiple sources of supply for methamphetamine to include Caroly Saunders5
 3 (SAUNDERS) and Vicente Lopez Palomares6 ·(LOPEZ). Further, BIHL facilitates
 4 narcotics transactions for others, including, but not limited to, Steven Moncrief
 5 (MONCRIEF), Brad Harville8 (HARVILLE), Donald Bums (BURNS), and Lirazel Ford
 6 (FORD). Likewise, the investigation to date indicates that WARNER maintains multiple
 7 sources of supply for methamphetamine, including BIHL and Kia King (KING).
 8 WARNER also facilitates narcotics transactions for others, including Kaherine Hildebrand
 9 (HILDEBRAND), Theodore Rybczk (RYBCZK), Eric New (NEW), and others.
1O           13.   During the course of this investigation, law enforcement has conducted
11 multiple state and federal search warrants at locations associated with targets of this
12 investigation. Additionally, investigators requested law enforcement to conduct
13 investigative traffic stops of several of the targets of this investigation. The investigative
14 traffic stops and search warrants have resulted in multiple seizures of large quantities of

15
16   4    On November 16, 2018, the Honorable William V. Gallo issued a federal arrest
   warrant 18MJ5909 for MOORE for violations of 21 U.S.C. section 841(a)(l). MOORE
17
   self-surrendered to law enforcement on January 3, 2019.
18
   5      On November 16, 2018, the Honorable William V. Gallo issued a federal arrest
19
   warrant 18MJ5908 for SAUNDERS for violations of21 U.S.C. sections 84l(a)(l) and 846.
20 On November 29, 2019, SAUNDERS was contacted and served a Notice to Appear.
21   6    On November 08, 2018, the Honorable Robert A. McQuaid issued a federal arrest
22 warrant 18MJ5779 for LOPEZ for violations of21 U.S.C. section 841(a)(l). LOPEZ was
23 arrested on November 15, 2018.

24 7      On November 16, 2018, the Honorable William V. Gallo issued a federal arrest
  5 warrant 18MJ5907 for MONCRIEF for violations of21 U.S.C. sections 841(a)(l) and 846.
2
    MONCRIEF was arrested on November 29, 2018.
26
    8     On November 08, 2018, the Honorable Robert A. McQuaid issued a federal arrest
27
    warrant 18MJ5780 for HARVILLE for violations of 21 U.S.C. section 841(a)(l).
28 HARVILLE is currently on state custody on unrelated charges.
                                           6
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 1 methamphetamine from targets of this investigation. Based on the content of the
 2 intercepted calls outlined in this affidavit, the controlled purchases conducted by CS-1 with
 3 WARNER and BIHL, and the seizures outlined below, I believe that the conversations
 4 outlined below are regarding narcotics transactions. Further, there is probable cause to
 5 believe evidence of crimes in violation of Title 21, United States Code, Sections 841, 846,
 6 952, 960 and 843 (Distribution of Controlled Substances, Conspiracy to Distribute
 7 Controlled Substances, Importation of a Controlled Substance, Illegal Use of a
 8 Communication Facility), as described in Attachments B will be found in the Target
 9 Telephones.
10                               Target Telephones-1, -2, and -3
11         14.   During the course of this investigation, HARVILLE has been intercepted
12 coordinating large narcotics transactions with BIHL. Additionally, HARVILLE, and his
13 girlfriend, Rachel McNeil (MCNEIL) have been observed at BIHL's residence for the
14 purpose of completing the narcotics transactions. For example, On July 14, 2018, in an
15 intercepted call to BIHL's monitored phone, HARVILLE explained to BIHL that his friend
16 "has a.big wallet" and had one to two thousand dollars to spend. BIHL responded, "Oh, so
17 he wants to spend 19 [$1900]." HARVILLE responded, "Yeah, is that feasible?" BIHL
18 answered, "Yeah, right now but better hurry." Pole camera footage confirmed that
19 HARVILLE arrived at, and then departed from, BIHL's residence in a vehicle belonging
20 to MCNEIL.
21       · 15.   On the following day, on July 15, 2018, HARVILLE again called BIHL's
22 monitored phone and they agreed to meet later in the day "to do the other half." Later that
23 day, surveillance agents obser\led HARVILLE and MCNEIL arrive and park
24 approximately one block from BIHL' s residence and walk to BIHL' s residence. A short
25 time later, pole camera video and surveillance agents observed HARVILLE and MCNEIL
26 depart BIHL' s residence and return to MCNEIL' s vehicle. Surveillance agents observed
27 HARVILLE and MCNEIL depart the area in the vehicle with HARVILLE driving and
28 MCNEIL in the front passenger seat. A marked Sheriff's unit stopped the vehicle in the
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 1 area of Friars Road and Frazee Road at the request of investigators and for traffic violations.
 2 HARVILLE was slow to yield and deputies observed a white crystalline substance being
 3 thrown out of the passenger front window, where MCNEIL was sitting.
 4         16.   Eventually HAI~VILLE stopped and .deputies searched the vehicle. Deputies
 5 found unidentified pills, illegal mushrooms, a baggie of methamphetamine, packages of
 6 Suboxone, and a burnt piece of tin foil with black tar residue in the center console. Deputies
 7 searched a backpack that was located on a backseat in the vehicle they belie:ved belonged
 8 to HARVILLE and found a scale with residue, numerous small baggies, a container with a
 9 black tar substance, a ziplock bag with a white crystalline substance, and a glass
1O methamphetamine pipe. Deputies located and seized Target Telephone-1, Target
11 Telephone-2, and Target Telephone-3.
12         17.   Agents also recovered, what a DEA laboratory later confirmed to be, 77 grams
13 of methamphetamine (actual) off the ground and street near the area where deputies
14 witnessed the white crystalline substance being thrown from the window closest to
15 MCNEIL.
16         18.   A review of prior law enforcement contact for HARVILLE and MCNEIL
17 revealed that they were contacted together and arrested on September 28, 2017 after a
18 traffic stop of a vehicle HARVILLE was driving. MCNEIL was again the front seat
19 passenger. MCNEIL was arrested pursuant to an active arrest warrant and a search of her
20 person and purse revealed small amounts of methamphetamine and heroin, a roll of
21 baggies, various pills, and drug paraphernalia. A search ofHARVILLE's person revealed
22 $106 in cash and unused baggies concealed in his underwear as well as a red digital scale
23 in the center console of the vehicle.
24         19.   Based on my training and experience, I know that it is common for narcotics
25 distributors to possess multiple cellular telephones in which they store content and make
26 calls related to narcotics distribution. Additionally, based on the intercepted calls between
27 HARVILLE and BIHL, the surveillance observations of both HARVILLE and MCNEIL·
28 arriving at and departing BIHL's residence prior to the July 15, 2018 traffic stop; the
                                                8
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 1 evidence items located during the traffic stop of HARVILLE and MCNEIL on July 15,
 2 2018; and the prior law enforcement contact involving HARVILLE and MCNEIL, I
 3 believe that evidence of crimes as described in Attachments B will be found on Target
 4 Telephone-1, Target Telephone-2, and Target Telephone-3.
 5                                 Target Telephones-4 and -5
 6         20.   During the course of this investigation, LOPEZ has been intercepted
 7 coordinating large narcotics transactions with BIHL. Additionally, LOPEZ, and his
 8 girlfriend, Diana Guerrero (GUERRERO) have been observed at BIHL's residence for the
 9 purpose of completing the narcotics transactions. For example, On July 2, 2018, at
1O approximately 6: 10 p.m., BIHL received an incoming call on the monitored line from
11 LOPEZ. At the beginning of the call, LOPEZ told BIHL, "I have excellent news." BIHL
12 interjected, "Yeah?" and LOPEZ continued, "Hopefully I do, I think this is a winner ....yeah,
13 so I'll be I'll be over there tonight around eightish nineish [to bring narcotics]." BIHL
14 clarified, "Over here [United States]?" and LOPEZ affirmed. In that same call, BIHL then
15 asked, "Have you spoke to um, whatever his name is?" BIHL responded, "Yeah, he said
16 uh he just wants, wants money back I guess [money paid for narcotics]." LOPEZ stated,
17 "Well, I haven't got money from him." BIHL responded "I thought that he paid all that off."
18 LOPEZ answered, "No, he never paid nothing off." BIHL then asked "...how much did he
19 owe?" and LOPEZ responded, "All five [pounds of narcotics] remember?" BIHL
20 commented, "I don't remember that's why I was aski.J1.g." LOPEZ then explained, "Yeah,
21 cause um, I left you twelve [twelve pounds of narcotics] remember?" BIHL interjected
22 "Right," and LOPEZ continued, "And you gave me from those twelve, two were yours, so
23 we're down, we're down to ten, and one of those ten, um, um, one was his, so that makes
24 us go down to nine, and then you gave me how many back, four?" BIHL answered "yeah,
25 four from him, and I paid you for all mine." LOPEZ continued, "No, no yours is separate.
26 So, from nine we go down to five, which which five he hasn't paid." BIHL asked, "Really?"
27 LOPEZ answered, "Yeah, that's what I've been telling you, ifhe was gonna keep em, or he
28 was gonna buy em or what." BIHL ~eassured LOPEZ, "... OK, I'll get at him don't trip."
                                               9
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 1 LOPEZ then told BIHL, "Ifhe doesn't want em fuckin' um, send em back." Based on my
 2 training and experience and the investigation to date I believe that BIHL and LOPEZ are
 3 discussing narcotics related debt.
 4         21.   On July 19, 2018~ at approximately 4:21 p.m., LOPEZ placed a call to BIHL's
 5 monitored phone. At the beginning ofthe call, BIHL said, "What's up Chaco?" LOPEZ
 6 responded, "Nothing much, I'm over here in town [in the United States] seeing what's up
 7 with you." BIHL responded, "I'm doing alright can you come get your uh, stuff [money]."
 8 Later LOPEZ asked, "You don't need nothing [narcotics]?" and BIHL responded, "Maybe
 9 one or two." LOPEZ confirmed, "Two .... Give me like an hour ... how long you gonna be
10 there?" BIHL responded, "I'ma be here for probably another 45 minutes." LOPEZ
11 responded, "OK, I'll do it, I'll do it quick then."
12         22.   Laterthat day, onJuly 19, 2018, at approximately 5:03 p.m., a Toyota Tacoma
13 pickup truck was observed by surveillance agents and captured on video by a pole camera
14 overlooking BIHL's residence. GUERRERO exited the passenger side of the Toyota
15 Tacoma and LOPEZ exited the driver's seat and they entered BIHL's residence. At
16 approximately 5:12 p.m., LOPEZ and GUERRERO departed BIHL's residence in the
17 Toyota Tacoma. At approximately 5:21 p.m., LOPEZ placed a call to BIHL and informed
18 BIHL, "a hundred short." BIHL echoed, "a hundred short .. .I got you." Based on my
19 training and experience, the intercepted calls, and observations of surveillance agents, I
20 believe that LOPEZ and GUERRERO transported narcotics to BIHL's residence and
21 picked up narcotics proceeds from BIHL at his residence.
22         23.   On July 26, 2018, at approximately 5:00 p.m., a marked Sherriff s unit
23 stopped a black Dodge Caliber being driven by LOPEZ at the request of our investigation
24 and for traffic violations. Deputies approached the vehicle and saw that there were two
25 passengers, later identified as GUERRERO in the front seat and Sinay Lopez, LOPEZ'
26 sister in the rear of the vehicle. When asked ifhe had anything illegal on him, LOPEZ said,
27 "I'm going to be honest with you, I have meth in my pocket" and consented to a search of
28 his person. LOPEZ had approximately 104 grams of methamphetamine in his left pocket
                                               10
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  1 and said there was more in his girlfriend's purse. Deputies found approximately 230 grams
  2 ofmethamphetamine in a freezer bag in GUERRERO's purse. The substance in the freezer
  3 bag was analyzed by a DEA laboratory and found to be 21 7.4 grams of methamphetarnine
  4 (actUal).
  5        24.   A deputy asked GUERRERO about the methamphetamine and she told
  6 investigators LOPEZ handed her the methamphetarnine when they were being pulled over
 7 and asked her to hide it. GUERRERO said they had crossed into the United States from
. 8 Mexico an hour before being stopped and LOPEZ had the freezer bag with him when they
 9 entered the United States. Deputies asked LOPEZ about the methamphetamine and he told
1O investigators they crossed in from Mexico an hour earlier and an unknown Hispanic male
11 on the streets of San Ysidro had handed him the freezer bag. Sinay Lopez told deputies
12 they crossed in from Mexico and had driven straight to a self-storage facility, where
13 LOPEZ went to a storage locker.
14         25.   Investigators were already familiar with the self-storage facility and had
15 observed LOPEZ at the self-storage facility immediately prior to the traffic stop. LOPEZ
16 and GUERRERO were arrested and the methamphetamine and Target Telephones-4 and
17 -5 were seized as evidence. Deputies also seized a key for a storage locker from LOPEZ
18 upon his arrest.
19         26.   In a video-recorded post-arrest statement, LOPEZ admitted a storage locker
20 at the self-storage facility could have methamphetamine, a scale, and baggies but said they
21 were not his. LOPEZ said a man in Mexico had given him the storage key so he could store
22 items in the locker. In a video-recorded post-arrest statement, GUERRERO said she
23 wanted to correct her earlier statement and they had crossed from Mexico and stopped at a
24 storage facility where LOPEZ keeps tires to pick up a tire. GUERRERO said she also stores
25 items she sells at swap meets in the storage locker. GUERRERO said she did not know
26 whether there were more drugs in the storage unit. GUERRERO said she did not discuss
27 LOPEZ' business with him. GUERRERO also said she believed LOPEZ picked up the
28 freezer bag of narcotics from the storage locker.
                                              11
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 1         27.    On July 26, 2018, investigators executed a search warrant at Import Storage,
 2 1575 Howard Avenue, San Ysidro, California. The key from LOPEZ worked on storage
 3 locker B3-5. In the locker was drug-packaging material, two digital scales, approximately
 4 10 ziplock bags containing a combined 12 pounds of methamphetamine and a bale of
 5 marijuana. The locker also contained one vehicle tire and a bag of old clothes.
 6         28.    Based on the intercepted calls between LOPEZ and BIHL, the surveillance
 7 observations of both LOPEZ and GUERRERO arriving at and departing BIHL's residence
 8 to complete a narcotics transaction; and the evidence items located during the traffic stop
 9 of LOPEZ and GUERRERO on July 26, 2018, I believe that evidence of crimes as
1O described in Attachments B will be found on Target Telephones-4 and -5.
11                                       Target Telephone-6
12         29.    During the course of the investigation, FORD has. been intercepted
13 coordinating ounce quantity methamphetamine transactions with BIHL. For example, on
14 July 2, 2018, at approximately 11 :17 p.m., FORD, using telephone number 619-288-5980,
15 called BIHL on the monitored phone. During the call, FORD asked, "I was wondering if...
16 somebody could come pick me up, I needed to come see you anyway, I have like, a little
17 over five bills [$500] ... " BIHL responded, "Nobody over here has a car ... except me ... "
18 Ford replied, "Really?" and BIHL affirmed and continued, "It's been real slow because of
19 the truck tires thing [bad quality methamphetamine]." FORD replied, "Yeah, it's all good"
20 and asked, "You have it though?" BIHL affirmed. FORD continued, "The same person, it's
21 for the same person, I guess they liked it... I told em' too ... it might taste a little bit like
22 burnt tires... but its good stuff... " FORD continued, "I need two [ounces of
23 methamphetamine] for sure ... " BIHL replied, "Yeah." FORD indicated that she was going
24 to find an Uber for a ride. At approximately 11 :52 p.m., FORD placed another call to BIHL
25 on the monitored phone. During the call, FORD asked BIHL, "Hey, do you want anything
26 from McDonalds?" BIHL told her that he wanted a chocolate shake. A few minutes later,
27 at approximately 12:02 a.m., on July 3, 2018, surveillance agents observed FORD exit the
28
                                                 12
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  1 McDonalds in close proximity to BIHL's residence. A few minutes later, a pole camera
  2 overlooking BIHL's residence captured FORD arriving at BIHL's residence.
 3         30.    FORD and BIHL coordinated additional narcotics transactions during the
 4 course of this investigation. On July 11th, 20th, and 29th, 2018, investigators intercepted
 5 calls regarding narcotics transactions between FORD and BIHL. On some of these
 6 occasions, FORD was also captured on pole camera video arriving at BIHL's residence.
 7         31.    On August 30, 2018, investigators conducted a probation compliance search
 8 at FORD's residence. During the probation search, FORD identified Target Telephone-6
 9 as her phone number. Prior to departing the probation search, irivestigators called telephone
10 number 619-288-5980 and observed Target Telephone-6 ring, which was seized as
11 evidence.
12         32.    Based on the intercepted calls between FORD and BIHL, the surveillance
13 observations of FORD arriving at and departing BIHL's residence to complete a narcotics
14 transaction; and the seizure of Target Telephone-6 from FORD, I believe that evidence of
15 crimes as described in Attachment B will be found on Target Telephone-6
16                                     Target Telephone-7
17         33.   During the course of this investigation, BURNS has been intercepted using
18 Target Telephone-7 coordinating narcotics transactions with BIHL. On most of the
19 occasions, BURNS and BIHL did not discuss the price or amount of the particular narcotics
20 transaction. However, on one occasion, on July 16, 2018, at approximately 11 :32 a.m.,
21 BURNS called BIHL on the monitored line and attempted to provide a MacBook Pro to
22 BIHL as collateral for "an ounce and a half." BIHL did not accept the offer and responded,
23 "oh, hell no ... " Later that day, at approximately 9:12 p.m., '.BURNS again called BIHL on
24 the monitored line and BURNS informed BIHL that he had "cash" and BIHL indicated that
25 he would travel to BURNS' location. Based on my training and experience and my
26 knowledge of this case, I believe that BURNS picked up methamphetamine from BIHL
27 that was intended to be redistributed to others.
28
                                               13
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 1         34.    On July 26, 2018, marked Sheriff Deputies conducted a traffic stop of BURNS
 2 at the request of investigators pending the execution of a state search warrant at BURNS'
 3 residence. BURNS was the sole occupant of the vehicle. During the traffic stop, the a
 4 deputy located two plastic baggies containing suspected methamphetamine on BURNS'
 5 person, which had an approximate gross weight of 12.9 grams and 4. 7 grams. Additionally,
 6 the deputy located one plastic bag containing suspected methamphetamine in the visor of
 7 BURNS' vehicle, which had an approximate gross weight of 1.4 grams. The deputy also
 8 located . and seized Target Telephone-7 during the traffic stop. The suspected
 9 methamphetamine seized during the traffic stop was sent to the DEA lab for testing, which
1O confirmed that the substance was methamphetamine with a combined weight of 19 .1 grams
11 (actual). Based on the quantity of methamphetamine seized from. BURNS, his contact with
12 BIHL, and the fact that BURNS was carrying metharnphetamine in three separate packages
13 with three different weights, I believe that BURNS possessed the methamphetamine with
14 the intent to redistribute it.
15         3 5.   Based on the intercepted calls between BURNS and BIHL, the evidence items
16 located during the traffic stop of BURNS on July 26, 2018, and rny training and experience,
17 I believe that evidence of crimes as described in Attachments B will be found on Target
18 Telephone-7.
19                                     Target Telephone-8
20         36.    During the course of this investigation WARNER sourced methamphetamine
21 from multiples sources of supply, including KING. As outlined below, WARNER and
22 KING coordinated large narcotics transactions during the course of this investigation. For
23 example, on June 29, 2018, at approximately 1:45 p.m., WARNER's associate, Eric New
24 (NEW) used WARNER's monitored phone to contact KING, using cellular telephone
25 number 619-453-3737. During the call, KING asked, "Where are you going to be at?"
26 NEW responded, "I'm. at my buddy Mark's [WARNER] right now, he [WARNER] wanted
27 me to call you and see what's crackin'." KING responded, "I'm out [of narcotics] for a
28 minute." NEW asked, "Today sometime?" and KING responded, "yeah, hopefully." NEW
                                              14
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  1 asked, "What's the best... you can give rne for a half L [half pound of rnetharnphetarnine]?"
 2 KING replied, "A whole one [pound of rnetharnphetarnine], eighteen [$1,800]." NEW
 3 responded, "Right when you do this ... call Gabby's [NEW's girlfriend] phone for rne."
 4          37.     On June 29, 2018, at approximately 10:54 p.rn., NEW called WARNER's
 5 monitored phone. Investigator's recognized NEW' s voice frorn the 1:45 p.m. call as well
 6 as subsequent monitored calls between WARNER and NEW. During the call, WARNER
 7 asked, "What are you doing?" and NEW responded, "Waiting for her." WARNER asked,
 8 "Waiting for who?" and NEW responded, "Waiting for Kia [KING]." WARNER asked,
 9 "Did she call you?" NEW responded, "She texted rne ... she's taking care of it right now."
10 WARNER replied, "Handle that shit." NEW asked, "What are you <loin? Where are you
11 at?" and WARNER replied, "Waiting... at rny house right now."
12          38. On July 5, 2018, at approximately 8:53 p.rn., KING placed an outgoing call to
13 WARNER. During the call, KING stated, "I have a little under a half [half pound of
14 narcotics] so do you want just a quarter? .. .I'rn gonna go get rnore right now:" WARNER
15 replied, "I'll take whatever you can get rne." KING then said, "OK. Perfect." WARNER·
16 replied, "I'll be here." At approximately 9:23 p.rn., WARNER placed another outgoing call
17 to KING. At the beginning of the call, WARNER said "Hey Kia" and KING irnrnediately
18 responded, "I'rn almost there." WARNER responded, "OK, you are corning here then?"
19 KING affirmed and indicated that she was almost there.
20         39.      Based on the above monitored calls and rny training and experience, I believe
21 that WARNER requested NEW to contact KING in order to obtain a pound of
22 rnetharnphetarnine. Further, I also believe that several days later on July 5th, KING
23 resupplied WARNER with an unknown quantity of narcotics and was in possession of at a
24 little less than a half pound of narcotics meant for redistribution.
25         40.      On July 19, 2018, a marked Sheriffs Deputy conducted a traffic stop of a
26 vehicle driven by KING at the request of investigators and for traffic violations. KING was
27 the   so~e   occupant of the vehicle at the tirne of the traffic stop. A narcotics trained K-9
28 conducted a search of the vehicle and alerted on a black bag inside the vehicle. A search
                                                 15
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  1 of the black bag revealed a working digital scale with methamphetamine residue and
 2 multiple empty ziplocked bags commonly used to package narcotics. The marked Sheriffs
 3 Deputy also located two cellular telephones. During the traffic stop, investigators called
 4 the phone number intercepted by law enforcement during the he course of the investigation
 5 and confirmed that one of the cellular telephones found during the traffic stop rang. For
 6 investigative reasons, the phone intercepted by law enforcement [619-453-3737]9 was left
 7 in KING' s possession and Target Telephone-8 was seized.
 8            41.   Based on my training and experience and my knowledge of this case, I believe
 9 that it is common for narcotics distributors to regularly use multiple cellular telephones to
1O conduct narcotics related business and that narcotics traffickers frequently change cellular
11 telephones. Accordingly, based on the intercepted calls between NEW and KING and
12 WARNER and KING, the evidence items located during the traffic stop of KING on July
13 19, 2018, and my training and experience, I believe that evidence of crimes as described in
14 Attachments B will be found on Target Telephone-8.
15                                     Target Telephone-9
16            42.   During the course of this investigation, RYBCZYK has been intercepted
17 coordinating narcotics transactions with WARNER on multiple occasions. Additionally,
18 as outlined below, intercepted conversations between RYBCZYK's associates, Iesha
19 Galvan (GALVAN) and WARNER, confirmed prior narcotics transactions with
20 RYBCYZK. For example, on June 28, 2018, at approximately 6:54 p.m., GALVAN sent
21 a text message to WARNER's monitored phone: "Hey call me im in the rental bout to go
22 sell a half to theo [RYBZCYK]." At approximately 6:56 p.m., WARNER, using the
23 monitored phone, made a call to GALVAN. During the intercepted call, WARNER asked,
24 "You still have that what you said real good?" GALVAN responded "Yeah ... I got it, I got
25 it with me, um ... and I'm gonna go sell a half [half ounce] to fucking uh Theo
26
     9
27       Investigators were tracking the location of telephone number 619-453-3737
   pursuant to federal tracking warrant 18MC1020, which was signed by the Honorable
28 Nita Stormes on July 17, 2018.
                                           16
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 1 [RYBZCYK] ... "Yeah, right now ... I guess he got money ... So, you should go, go and get
 2 yours, you know." WARNER responded, "Yeah, where? At the Welcome Inn?" GALVAN
 3 replied, "Yeah, if you want I can pick you up in the rental, it's a nice car." WARNER
 4 replied, "I don't go to the Welcome Inn, that place is hot as fuck down there." GALVAN
 5 responded, "Yeah ... I'm just gonna go and sell it to him [RYBZCYK] or do you want me
 6 to bring him or what?" WARNER indicated that he might also know somebody staying at
 7 the Welcome Inn. GALVAN asked, "Hey, um, so do you wanna um when do you want to
 8 meet up?" WARNER replied, "Um, soon. I want to check out that shit [methamphetamine]
 9 you got. See if it's any good." GALVAN replied, "Yeah, I got two. I got two ounces on me
10 right now." WARNER stated, "If it's good, I'll buy at least one [ounce of
11 methamphetamine]." GALVAN and WARNER discussed meet locations and agreed to
12 meet on the comer of Landis Street and Texas Street in San Diego.
13        43.    Surveillance agents were posted in the area of Landis Street and Texas Street
14 and observed WARNER standing at the driver's side window of GALVAN's vehicle.
15 GALVAN then departed the area. Based on above intercepted call and the observations of
16 the surveillance agents, I believe that GALVAN drove to meet WARNER in order to
17 complete the narcotics transaction discussed during the above intercepted call.
18        44.    Surveillance agents also posted at the Welcome Inn located at 1550
19 Washington Street, San Diego, California.. Surveillance agents observed RYBZCYK walk
20 out of the Welcome Inn and enter GALVAN' s vehicle and depart the area. Based on above
21 intercepted call and the observations of the surveillance agents, I believed that GALVAN
22 picked up RYBZCYK in order to complete the narcotics transaction discussed during the
23 above intercepted call.
24        45.    On multiple occasions during the course of the investigation, RYBZCYK was
25 intercepted discussing narcotics transactions directly with WARNER. For example, on July
26 3, 2018, at approximately 7:02 p.m., RYBZCYK contacted WARNER on the monitored
27 phone. During the intercepted call, RYBCYZK stated, "I need a whole one [ounce of
28 methamphetamine] ... I got someone [unknown customer] coming to get one ... can I owe
                                             17
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  1 you something on it?" RYBCYZK continued, "That's what he's coming for specifically ...
 2 I charge him [unknown customer] two-fifty [$250 for an ounce of methamphetamine]."
 3 WARNER replied, "For sure ... you owe me a hundred bucks on it tonight." RYBCYZK
 4 countered, "How about seventy five [$75]" and WARNER replied, "A full one is two
 5 hundred bucks ... I'll give you a half ounce." Ultimately, WARNER and RYBCYZK
 6 agreed that RYBCYZK would owe WARNER a total of eighty dollars for the ounce of
 7 methamphetamine, which indicated that RYBCYZK paid WARNER $120 upon receipt of
 8 the narcotics.]
 9        46.    On July 10, 2018, investigators executed a federal search warrant at
1O GALVAN' s residence. RYBCYZK arrived at GALVAN' s residence as investigators were
11 executing the search warrant and both GALVAN and R YBCYZK were detained. During
12 the search warrant, investigators located a small amount of methamphetamine on
13 GALVAN' s person, a digital scale in her purse, and drug packaging material in
14 GALVAN's residence. Additionally, investigators seized Target Telephone-9 from
15 RYBCYZK.
16        47.   Based on the intercepted calls between GALVAN and WARNER and
17 RYBZYK and WARNER, observations of the surveillance agents on June 28, 2018,
18 RYBZYK's presence at GALVAN's residence on July 10, 2018, and the items located at
19 GALVAN's residence, as well as my training and experience, I believe that evidence of
20 crimes as described in Attachments B will be found on Target Telephone-9.
21                                 Target Telephone-10
22        48.   During the course of this investigation, HILDEBRAND has been intercepted
23 coordinating narcotics transactions with WARNER on multiple occasions. Specifically, on
24 numerous     occasions,   HILDEBRAND          attempted   to   trade   stolen   goods   for
25 methamphetamine to be redistributed for money. For example, on July 3, 2018, at
26 approximately 9:01 a.m., HILDEBRAND called WARNER on the monitored line. During
27 the intercepted call, WARNER asked, "What do you want?" and HILDEBRAND
28 responded, "I don't know yet." WARNER stated, "You better make up your mind, there's
                                            18
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  1 not much [methamphetamine] left." HILDEBRAND responded, "Well, I need some
 2 [methamphetamine] so I can make fucking money off of it." HILDEBRAND continued to
 3 be indecisive on the amount of narcotics she wanted from WARNER and WARNER asked,
 4 "If I tell you a pound [of methamphetamine] ... do you want it?" HILDEBRAND declined
 5 and replied, "Just one [ounce of methamphetamine]." HILDEBRAND informed
 6 WARNER that she intended to pay for the narcotics with gift cards.
 7         49.   On July 13, 2018, WARNER and HILDEBRAND again negotiated a
 8 narcotics transaction over WARNER's monitored line. At approximately 9:57 p.m.,
 9 IDLDEBRAND called WARNER's monitored line. During the intercepted call,
1O WARNER asked, "What are you looking for?" HILDEBRAND replied, "Look, I know
11 I'm not responsible all the time but I need two [ounces ofmethamphetamine] and they are
12 gone tonight ... like really they are already sold." HILDEBRAND continued, "For fucking
13 quarters [quarter ounce of methamphetamine] ... he [unknown narcotics sub-distributor] ...
14 fucking charges em one hundred and twenty dollars." WARNER replied, "Yeah, that's not
15 bad... for a quarter 0       [quarter ounce of methamphetamine]." WARNER and
16 HILDEBRAND agreed to meet later that day to complete the transaction.
17        50.    HILDEBRAND and WARNER were intercepted on July 22nd and 23rd, 2018
18 discussing stolen items and narcotics transactions. On July 24, 2018, a marked Sheriff
19 Deputy conducted a traffic stop of HILDEBRAND. During the traffic stop,
20 HILDEBRAND admitted to having drug paraphernalia in the vehicle. During a search of
21 HILDEBRAND's vehicle, the deputy located multiple stolen items in IDLDEBRAND's
22 vehicle as well as Target Telephone-10, which was seized as evidence. HILDEBRAND
23 identified the telephone number of Target Telephone-10 as 619-937-1023, which is the
24 same phone number intercepted during the course of this investigation. Some of the stolen
25 items located in HILDEBRAND' s vehicle were discussed during intercepted calls between
26 HILDEBRAND and WARNER and WARNER and others.
27        51.    Based on the intercepted calls between HILDEBRAND and WARNER, the
28 items located in HILDEBRAND's vehicle on July 24, 2018, as well as my training and
                                             19
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  1 experience, I believe that evidence of crimes as described in Attachments B will be found
  2 on Target Telephone-10.
 3                                   Target Telephone-11
 4         52.   During the course of this investigation, as described above, NEW was
 5 intercepted on WARNER' s phone coordinating a narcotics transaction between WARNER
 6 and KING. Additionally, as further described below, NEW was intercepted coordinating
 7 narcotics transactions directly with WARNER. NEW has multiple prior drug related
 8 arrests, including a 2004 arrest for transportation and sales of illegal narcotics. As outlined
 9 below, based on the content of the intercepted conversations between NEW and
1O WARNER, I believe that NEW was obtaining illegal narcotics from WARNER and others
11 for redistribution.
12         53.   For example, on July 3, 2018, at approximately 8:02 p.m., NEW contacted
13 WARNER on the monitored line. During the intercepted call, NEW and WARNER briefly
14 discussed WARNER meeting KING for narcotics. NEW then requested heroin from
15 WARNER to sell to an unknown customer. Specifically, NEW stated, "I need to meet you
16 right now ... I need you to bring me a quarter piece [quarter ounce] of that [heroin]."
17 WARNER asked NEW how much he wanted and NEW responded, "Like five grams ... of
18 the black [heroin]." WARNER and NEW negotiated a price and NEW stated, "I'm selling
19 half of what I just asked you for [five grams of heroin] for three hundred bucks." As another
20 example, on July 9, 2018, at approximately 8:24 p.m., NEW contacted WARNER on the
21 monitored phone. During the intercepted call, NEW asked WARNER, "You got any shit
22 [methamphetamine]?" and WARNER responded, "Very little." NEW asked, "How much
23 is a little?" WARNER replied, "Maybe a half [half ounce of methamphetamine]."
24 WARNER indicated that he was waiting for KING to be resupplied and NEW responded,
25 "So am I." NEW asked, "Can I get the fourteen [fourteen grams ofmethamphetamine] at
26 your price?" WARNER agreed to sell the half ounce to NEW for eighty dollars but
27 indicated that he typically charged one hundred dollars for that amount.
28
                                               20
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  1          54. On September 19, 2018, NEW was contacted during a traffic stop and arrested
  2 on pending state felony arrest warrants. A San Diego Sheriffs Detective downloaded
  3 Target Telephone-11 pursuant to a valid 4th waiver terms of NEW' s probation. This is an
  4 independent application to search Target Telephone-11 and the FBI requests the Court
  5 not to consider any evidence that may have been found be the detective.
  6          55.   Based upon my training and experience, NEW's prior arrest history, the
 7 intercepted calls between WARNER and NEW during the course of this investigation, and
  8 the considerable evidence establishing WARNER as a distributor of narcotics, to include
 9 multiple controlled sales to CS-1, I believe that evidence of crimes as described in
10 Attachments B will be found on Target Telephone-11.
11                            CELL PHONE SEARCH METHODOLOGY
            56.    It is not possible to determine, merely by knowing the cellular telephone's
12
      make, model and serial number, the nature and types of services to which the device is
13
      subscribed and the nature of the data stored on the device. Cellular devices today can
14
      be simple cellular telephones and text message devices, can include cameras, can serve
15
      as personal digital assistants and have functions such as calendars and full address books
16
      and can be mini-computers allowing for electronic mail services, web services and
17
      rudimentary word processing. An increasing number of cellular service providers now
18
19 allow for their subscribers to access their device over the internet and remotely destroy
20 all of the data contained on the device. For that reason, the device may only be powered
21 in a secure environment or, if possible, started in "flight mode" which disables access
22 to the network. Unlike typical computers, many cellular telephones do not have hard
23 drives or hard drive equivalents and store information in volatile memory within the
24 device or in memory cards inserted into the device. Current technology provides some
25 solutions for acquiring some of the data stored in some cellular telephone models using
26 forensic hardware and software. Even if some of the stored information on the device
27 ·may be acquired forensically, not all of the data subject to seizure may be so acquired.
28 For devices that are not subject to forensic data acquisition or that have potentially
                                                 21
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     relevant data stored that is not subject to such acquisition, the examiner must examine
 1
     the device manually and record the process and the results using digital photography.
 2
     This process is time and labor intensive and may take weeks or longer.
 3
            57.   Following the issuance of this warrant, FBI will collect the subject cellular
 4
     telephone and subject it to analysis. All forensic analysis of the data contained within
 5
     the telephone and its memory cards, call detail records, and deleted files will employ
 6
     search protocols directed exclusively to the identification and extraction of data within
 7
     the scope of this warrant.
 8
 9          58.   Based on the foregoing, identifying and extracting data subject to seizure
10 pursuant to this warrant may require a range of data analysis techniques, including
11 manual review, and, consequently, may take weeks or months. The personnel
12 conducting the identification and extraction of data will complete the. analysis within
13 ninety (90) days, absent further application to this court.
14                                       CONCLUSION
15          59.   Based on the foregoing, I believe there is probable cause to believe items
16 that constitute evidence of violations of federal criminal law, namely, ofTitle 21, United
17 States Code, Sections 841, 846, and 843, as described in Attachment B, will be found
18 in the property to be searched, as provided in Attachments A-1 through A-11.
19
20                                                        ~                      //
                                                          Michael J. Rod 'CO/"
21
                                                          FBI Special Agent
22
     SUBSCRIBED and SWORN to before me
23
     this   ~~ day of January, 2019
24
25
26 HON. WILLIAM V. GALLO
   United States Magistrate Judge
27
28
                                                22
